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AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Jack Carrier, et al

Plaintiff
V. Civil Action No. 09-3615 Sect.N Mag. 5

Gulf Stream Coach, Inc., et al

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Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Federal Emergency Management Agency (FEMA)
Through the Office of the Director
Craig Fugate, Director
500 C Street
Washington, DC 20472

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Justin |. Woods

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre, 1100 Poydras St.

New Orleans, LA 70163-2800

Telephone: (504) 522-2304; Facsimile: (504) 528-9973

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: ___Feb 12 2010

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& AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service

I declare under penalty of perjury that I served the summons and complaint in this case on

by:

(1) personally delivering a copy of each to the individual at this place,

> Or

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

5 or
(4) returning the summons unexecuted to the court clerk on ; OF
(5) other (specify)

My fees are $ for travel and $ for services, for a total of $ 0.00

Date:

Server's signature

Printed name and title

Server's address
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UNITED STATES
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Label/Receipt Number: 7179 1000 1645 0014 0255
Status: Delivered Track & Confirm e

Enter Label/Receipt Number.

Your item was delivered at 11:25 am on February 23, 2010 in
WASHINGTON, DC 20472. A proof of delivery record may be available
through your local Post Office for a fee.

Additional information for this item is stored in files offline.

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